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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                   DELTA DIVISION

JOE GRANADO                                                                   PETITIONER
Reg #39699-380

V.                             Case No. 2:24-CV-00083-JM-BBM

C. Garrett, Warden                                                           RESPONDENT

                                           JUDGMENT

       Consistent with the Order entered separately today, this case is dismissed without

prejudice. All relief sought is denied, and the case is closed.

       IT IS SO ORDERED this 24th day of June, 2024.


                                                       ________________________________
                                                       UNITED STATES DISTRICT JUDGE
